08-13555-mg   Doc 7075-3   Filed 02/11/10 Entered 02/11/10 12:49:58   Exhibit B
                                   Pg 1 of 5




                              Exhibit “B”
 08-13555-mg       Doc 7075-3     Filed 02/11/10 Entered 02/11/10 12:49:58           Exhibit B
                                          Pg 2 of 5



                            MEZZANINE PROMISSORY NOTE
                                                                            New York, New York
                                                                                   June 6,2007

        FOR VALUE RECEIVED, FONTAINEBLEAU LAS VEGAS RETAIL
MEZZANINE, LLC, a Delaware limited liability company, having its principal place of
business at 2827 Paradise Road, Las Vegas, Nevada 89109, as maker ("Borrower"), hereby
unconditionally promises to pay to the order of LEHMAN BROTHERS HOLDINGS JNC., a
Delaware corporation, having an address at 399 Park Avenue,          Floor, New York, New York
10022, individually and as Agent for one or more Co-Lenders, as payee ("Lender"), or at such
other place as the holder hereof may fiom time to time designate in writing, the principal sum of
EIGHTY FIVE MILLION AND 001100 DOLLARS ($85,000,000.00), in lawful money of the
United States of America with interest on the unpaid principal thereof to be computed fiom the
date of this Note at the Applicable Interest Rate, and to be paid in accordance with the terms of
this Note and that certain Mezzanine Loan Agreement, dated the date hereof, between Borrower
and Lender (the "Loan Agreement"). All capitalized terms not defined herein shall have the
respective meanings set forth in the Loan Agreement.

                              ARTICLE 1 - PAYMENT TERMS

       Borrower agrees to pay the principal sum of this Note and interest on the unpaid principal
sum of this Note fiom time to time outstanding at the rates and at the times specified in Article 2
of the Loan Agreement and the outstanding balance of the principal sum of this Note and all
accrued and unpaid interest thereon shall be due and payable on the Maturity Date.

                     ARTICLE 2 - DEFAULT AND ACCELERATION

        The Debt shall without notice become immediately due and payable at the option of
Lender upon the occurrence of any Event of Default or if any payment required in this Note is
not paid on the Maturity Date and in addition, Lender shall be entitled to receive interest on the
entire unpaid principal sum at the Default Rate pursuant to the terms of the Loan Agreement.
This Article 2, however, shall not be construed as an agreement or privilege to extend the date of
the payment of the Debt, nor as a waiver of any other right or remedy accruing to Lender by
reason of the occurrence of any Event of Default.

                             ARTICLE 3 - LOAN DOCUMENTS

       This Note is secured by the Pledge Agreement and the other Loan Documents. All of the
terms, covenants and conditions contained in the Loan Agreement, the Pledge Agreement and
the other Loan Documents are hereby made part of this Note to the same extent and with the
same force as if they were fully set forth herein. In the event of a conflict or inconsistency
between the terms of this Note and the Loan Agreement, the terms and provisions of the Loan
Agreement shall govern.
  08-13555-mg       Doc 7075-3     Filed 02/11/10 Entered 02/11/10 12:49:58           Exhibit B
                                           Pg 3 of 5



                              ARTICLE 4 - SAVINGS CLAUSE

        This Note and the Loan Agreement are subject to the express condition that at no time
shall Borrower be obligated or required to pay interest on the principal balance of the Loan at a
rate which could subject Lender to either civil or criminal liability as a result of being in excess
of the Maximum Legal Rate. If, by the tenns of this Note, the Loan Agreement or the other
Loan Documents, Borrower is at any time required or obligated to pay interest on the principal
balance due hereunder at a rate in excess of the Maximum Legal Rate, the Applicable Interest
Rate or the Default Rate, as the case may be, shall be deemed to be immediately reduced to the
Maximum Legal Rate and all previous payments in excess of the Maximum Legal Rate shall be
deemed to have been payments in reduction of principal and not on account of the interest due
hereunder. All sums paid or agreed to be paid to Lender for the use, forbearance, or detention of
the sums due under the Loan, shall, to the extent permitted by applicable law, be amortized,
prorated, allocated, and spread throughout the full stated term of the Loan until payment in full
so that the rate or amount of interest on account of the Loan does not exceed the Maximum Legal
Rate of interest from time to time in effect and applicable to the Loan for so long as the Loan is
outstanding.

                              ARTICLE 5 - NO ORAL CHANGE

       This Note may not be modified, amended, waived, extended, changed, discharged or
terminated orally or by any act or failure to act on the part of Borrower or Lender, but only by an
agreement in writing signed by the party against whom enforcement of any modification,
amendment, waiver, extension, change, discharge or termination is sought.

                                   ARTICLE 6 - WAIVERS

        Except as specifically provided in the Loan Agreement, Borrower and all others who may
become liable for the payment of all or any part of the Debt do hereby severally waive
presentment and demand for payment, notice of dishonor, notice of intention to accelerate, notice
of acceleration, protest and notice of protest and non-payment and all other notices of any kind.
Except as specifically provided in the Loan Agreement, no release of any security for the Debt or
extension of time for payment of this Note or any installment hereof, and no alteration,
amendment or waiver of any provision of this Note, the Loan Agreement or the other Loan
Documents made by agreement between Lender or any other Person shall release, modifl,
amend, waive, extend, change, discharge, terminate or affect the liability of Borrower, and any
other Person who may become liable for the payment of all or any part of the Debt, under this
Note, the Loan Agreement or the other Loan Documents. No notice to or demand on Borrower
shall be deemed to be a waiver of the obligation of Borrower or of the right of Lender to take
further action without further notice or demand as provided for in this Note, the Loan Agreement
or the other Loan Documents. If Borrower is a partnership, the agreements herein contained
shall remain in force and be applicable, notwithstanding any changes in the individuals or
entities comprising the partnership, and the term "Borrower," as used herein, shall include any
alternate or successor partnership, but any predecessor partnership and their partners shall not
thereby be released from any liability. If Borrower is a corporation, the agreements contained
herein shall remain in full force and be applicable notwithstanding any changes in the
  08-13555-mg      Doc 7075-3     Filed 02/11/10 Entered 02/11/10 12:49:58          Exhibit B
                                          Pg 4 of 5


shareholders comprising, or the officers and directors relating to, the corporation, and the term
"Borrower" as used herein, shall include any alternate or successor corporation, but any
predecessor corporation shall not be relieved of liability hereunder. If Borrower is a limited
liability company, the agreements herein contained shall remain in force and be applicable,
notwithstanding any changes in the members comprising the limited liability company, and the
term "Borrower" as used herein, shall include any alternate or successor limited liability
company, but any predecessor limited liability company and their members shall not thereby be
released fi-om any liability. (Nothing in the foregoing sentence shall be construed as a consent
to, or a waiver of, any prohibition or restriction on transfers of interests in such partnership,
corporation or limited liability company which may be set forth in the Loan Agreement, the
Security Instrument or any other Loan Document.) If Borrower consists of more than one person
or party, the obligations and liabilities of each such person or party shall be joint and several.

                                  ARTICLE 7 - TRANSFER

        Upon the transfer of this Note, Borrower hereby waiving notice of any such transfer,
except as may be provided in the Loan Agreement, Lender may deliver all the collateral
mortgaged, granted, pledged or assigned pursuant to the Loan Documents, or any part thereof, to
the transferee who shall thereupon become vested with all the rights herein or under applicable
law given to Lender with respect thereto, and Lender shall thereafter forever be relieved and
fully discharged from any liability or responsibility in the matter except as may be specifically
provided for in the Loan Agreement; but Lender shall retain all rights hereby given to it with
respect to any liabilities and the collateral not so transferred.

                               ARTICLE 8 - EXCULPATION

       Notwithstanding anythmg to the contrary contained in this Note, the liability of Borrower
to pay the Debt and for the performance of the other agreements, covenants and obligations
contained herein and in the Pledge Agreement, the Loan Agreement and the other Loan
Documents shall be limited as set forth in Section 9.4 of the Loan Agreement.

                             ARTICLE 9 - GOVERNING LAW

        This Note shall be governed in accordance with the terms and provisions of Section 11.3
of the Loan Agreement.

                                  ARTICLE 10 - NOTICES

       All notices or other written communications hereunder shall be delivered in accordance
with Section 11-6 of the Loan Agreement.

                          [NO FURTHER TEXT ON THIS PAGE]
08-13555-mg       Doc 7075-3   Filed 02/11/10 Entered 02/11/10 12:49:58       Exhibit B
                                       Pg 5 of 5




        IN WITNESS WHEREOF, Borrower has duly executed this Note as of the day and
year first above written.
                                   FONTAINEBLEAU    LAS   VEGAS      RETAIL
                                   MEZZANINE, LLC, a Delaware limited liability
                                   company

                                   By:   Fontainebleau Las Vegas Retail Parent, LLC, a
                                         Delaware limited liability company, its managing
                                         member

                                         By:    Fontainebleau Resort Holdings, LLC, a
                                                Delaware limited liability company, its
                                                managing member

                                                By: Fontainebleau Resorts, LLC, a
                                                    Delaware limited liability company,




                                                     By:
                                                            Name: ;s's+   S      w
                                                            Title: e;~cttl+
                                                                          v.e C h ~ k r d n




MEZZANINE PROMISSORY NOTE
